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                                                                                           2021 Sep-22 PM 04:24
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )
                                                   )       2:19-cr-566-ACA-GMB-1
PRINCE ALLEN MARSH,                                )
                                                   )
                                                   )

                                          ORDER



       Before the court is Defendant Prince Marsh’s pro se1 motions to dismiss,

which the court construes as a motion to suppress. (Doc. 43). On July 27, 2021, the

magistrate judge entered a report recommending that the court deny the motion.

(Doc. 70). Mr. Williamson has filed objections to the recommendation. (Doc. 71).

       Having carefully reviewed and considered de novo all the materials in the

record, including the report and recommendation, the court hereby ADOPTS the

magistrate judge’s report and ACCEPTS the recommendation. Accordingly, the

court DENIES Mr. Marsh’s motion to suppress. (Doc. 43).




       1
        Although Mr. Marsh filed the motion himself, he is represented by counsel in this case
and was represented by counsel during the evidentiary hearings on the motion.
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DONE and ORDERED this September 22, 2021.



                           _________________________________
                           ANNEMARIE CARNEY AXON
                           UNITED STATES DISTRICT JUDGE
